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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                     )
                                             )
   v.                                        )       USDC No. 21-cr-620 (BAH)
                                             )
Anthony Vuksanaj, defendant.                 )

                                         NOTICE

        The defendant, through undersigned counsel Nathan I. Silver, Esq., appointed by this

Court under the Criminal Justice Act, respectfully notifies the Court, per its minute Order of

April 20, 2022, that he does not object to the exhibits referenced in the government’s Notice of

Filing of Items Incompatible with CM/ECF Filing (Doc. 36, April 8, 2022) being made publicly

available without restriction.

                This pleading is,

                                     Respectfully submitted,

                                             /s/

                                       NATHAN I. SILVER, II
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                                    CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
Alison Prout, Esq., U.S. Attorney’s Office for the Northern District of Georgia, attorney of
record for the United States, this 20th day of April, 2022.

                                      _________/s/_____________
                                          Nathan I. Silver, II
